       Case: 3:20-cv-00380-slc Document #: 21 Filed: 09/23/21 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN

BETTY ANN BRACKEE,

                   Plaintiff,
      v.
                                                        Case No. 20-cv-380-slc
KILOLO KIJAKAZI,
Acting Commissioner of Social Security,

                   Defendant.


                           JUDGMENT IN A CIVIL CASE


      IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

plaintiff Betty Ann Brackee against defendant Kilolo Kijakazi, Acting Commissioner

of Social Security reversing the decision of the Commissioner and remanding this

case for further proceedings under sentence four of Section 205 of the Social Security

Act, 42 U.S.C. § 405(g).




      s/ K. Frederickson, Deputy Clerk                            9/23/2021
       Peter Oppeneer, Clerk of Court                                Date
